Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 1 of 260 Page ID #1200
                                                                  Exhibit B




                                                          WHITE SCC (MR) 0001
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 2 of 260 Page ID #1201




                                                          WHITE SCC (MR) 0002
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 3 of 260 Page ID #1202




                                                          WHITE SCC (MR) 0003
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 4 of 260 Page ID #1203




                                                          WHITE SCC (MR) 0004
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 5 of 260 Page ID #1204




                                                          WHITE SCC (MR) 0005
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 6 of 260 Page ID #1205




                                                          WHITE SCC (MR) 0006
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 7 of 260 Page ID #1206




                                                          WHITE SCC (MR) 0007
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 8 of 260 Page ID #1207




                                                          WHITE SCC (MR) 0008
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 9 of 260 Page ID #1208




                                                          WHITE SCC (MR) 0009
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 10 of 260 Page ID #1209




                                                           WHITE SCC (MR) 0010
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 11 of 260 Page ID #1210




                                                           WHITE SCC (MR) 0011
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 12 of 260 Page ID #1211




                                                           WHITE SCC (MR) 0012
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 13 of 260 Page ID #1212




                                                           WHITE SCC (MR) 0013
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 14 of 260 Page ID #1213




                                                           WHITE SCC (MR) 0014
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 15 of 260 Page ID #1214




                                                           WHITE SCC (MR) 0015
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 16 of 260 Page ID #1215




                                                           WHITE SCC (MR) 0016
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 17 of 260 Page ID #1216




                                                           WHITE SCC (MR) 0017
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 18 of 260 Page ID #1217




                                                           WHITE SCC (MR) 0018
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 19 of 260 Page ID #1218




                                                           WHITE SCC (MR) 0019
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 20 of 260 Page ID #1219




                                                           WHITE SCC (MR) 0020
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 21 of 260 Page ID #1220




                                                           WHITE SCC (MR) 0021
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 22 of 260 Page ID #1221




                                                           WHITE SCC (MR) 0022
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 23 of 260 Page ID #1222




                                                           WHITE SCC (MR) 0023
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 24 of 260 Page ID #1223




                                                           WHITE SCC (MR) 0024
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 25 of 260 Page ID #1224




                                                           WHITE SCC (MR) 0025
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 26 of 260 Page ID #1225




                                                           WHITE SCC (MR) 0026
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 27 of 260 Page ID #1226




                                                           WHITE SCC (MR) 0027
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 28 of 260 Page ID #1227




                                                           WHITE SCC (MR) 0028
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 29 of 260 Page ID #1228




                                                           WHITE SCC (MR) 0029
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 30 of 260 Page ID #1229




                                                           WHITE SCC (MR) 0030
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 31 of 260 Page ID #1230




                                                           WHITE SCC (MR) 0031
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 32 of 260 Page ID #1231




                                                           WHITE SCC (MR) 0032
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 33 of 260 Page ID #1232




                                                           WHITE SCC (MR) 0033
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 34 of 260 Page ID #1233




                                                           WHITE SCC (MR) 0034
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 35 of 260 Page ID #1234




                                                           WHITE SCC (MR) 0035
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 36 of 260 Page ID #1235




                                                           WHITE SCC (MR) 0036
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 37 of 260 Page ID #1236




                                                           WHITE SCC (MR) 0037
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 38 of 260 Page ID #1237




                                                           WHITE SCC (MR) 0038
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 39 of 260 Page ID #1238




                                                           WHITE SCC (MR) 0039
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 40 of 260 Page ID #1239




                                                           WHITE SCC (MR) 0040
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 41 of 260 Page ID #1240




                                                           WHITE SCC (MR) 0041
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 42 of 260 Page ID #1241




                                                           WHITE SCC (MR) 0042
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 43 of 260 Page ID #1242




                                                           WHITE SCC (MR) 0043
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 44 of 260 Page ID #1243




                                                           WHITE SCC (MR) 0044
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 45 of 260 Page ID #1244




                                                           WHITE SCC (MR) 0045
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 46 of 260 Page ID #1245




                                                           WHITE SCC (MR) 0046
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 47 of 260 Page ID #1246




                                                           WHITE SCC (MR) 0047
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 48 of 260 Page ID #1247




                                                           WHITE SCC (MR) 0048
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 49 of 260 Page ID #1248




                                                           WHITE SCC (MR) 0049
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 50 of 260 Page ID #1249




                                                           WHITE SCC (MR) 0050
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 51 of 260 Page ID #1250




                                                           WHITE SCC (MR) 0051
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 52 of 260 Page ID #1251




                                                           WHITE SCC (MR) 0052
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 53 of 260 Page ID #1252




                                                           WHITE SCC (MR) 0053
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 54 of 260 Page ID #1253




                                                           WHITE SCC (MR) 0054
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 55 of 260 Page ID #1254




                                                           WHITE SCC (MR) 0055
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 56 of 260 Page ID #1255




                                                           WHITE SCC (MR) 0056
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 57 of 260 Page ID #1256




                                                           WHITE SCC (MR) 0057
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 58 of 260 Page ID #1257




                                                           WHITE SCC (MR) 0058
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 59 of 260 Page ID #1258




                                                           WHITE SCC (MR) 0059
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 60 of 260 Page ID #1259




                                                           WHITE SCC (MR) 0060
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 61 of 260 Page ID #1260




                                                           WHITE SCC (MR) 0061
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 62 of 260 Page ID #1261




                                                           WHITE SCC (MR) 0062
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 63 of 260 Page ID #1262




                                                           WHITE SCC (MR) 0063
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 64 of 260 Page ID #1263




                                                           WHITE SCC (MR) 0064
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 65 of 260 Page ID #1264




                                                           WHITE SCC (MR) 0065
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 66 of 260 Page ID #1265




                                                           WHITE SCC (MR) 0066
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 67 of 260 Page ID #1266




                                                           WHITE SCC (MR) 0067
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 68 of 260 Page ID #1267




                                                           WHITE SCC (MR) 0068
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 69 of 260 Page ID #1268




                                                           WHITE SCC (MR) 0069
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 70 of 260 Page ID #1269




                                                           WHITE SCC (MR) 0070
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 71 of 260 Page ID #1270




                                                           WHITE SCC (MR) 0071
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 72 of 260 Page ID #1271




                                                           WHITE SCC (MR) 0072
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 73 of 260 Page ID #1272




                                                           WHITE SCC (MR) 0073
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 74 of 260 Page ID #1273




                                                           WHITE SCC (MR) 0074
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 75 of 260 Page ID #1274




                                                           WHITE SCC (MR) 0075
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 76 of 260 Page ID #1275




                                                           WHITE SCC (MR) 0076
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 77 of 260 Page ID #1276




                                                           WHITE SCC (MR) 0077
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 78 of 260 Page ID #1277




                                                           WHITE SCC (MR) 0078
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 79 of 260 Page ID #1278




                                                           WHITE SCC (MR) 0079
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 80 of 260 Page ID #1279




                                                           WHITE SCC (MR) 0080
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 81 of 260 Page ID #1280




                                                           WHITE SCC (MR) 0081
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 82 of 260 Page ID #1281




                                                           WHITE SCC (MR) 0082
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 83 of 260 Page ID #1282




                                                           WHITE SCC (MR) 0083
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 84 of 260 Page ID #1283




                                                           WHITE SCC (MR) 0084
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 85 of 260 Page ID #1284




                                                           WHITE SCC (MR) 0085
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 86 of 260 Page ID #1285




                                                           WHITE SCC (MR) 0086
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 87 of 260 Page ID #1286




                                                           WHITE SCC (MR) 0087
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 88 of 260 Page ID #1287




                                                           WHITE SCC (MR) 0088
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 89 of 260 Page ID #1288




                                                           WHITE SCC (MR) 0089
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 90 of 260 Page ID #1289




                                                           WHITE SCC (MR) 0090
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 91 of 260 Page ID #1290




                                                           WHITE SCC (MR) 0091
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 92 of 260 Page ID #1291




                                                           WHITE SCC (MR) 0092
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 93 of 260 Page ID #1292




                                                           WHITE SCC (MR) 0093
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 94 of 260 Page ID #1293




                                                           WHITE SCC (MR) 0094
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 95 of 260 Page ID #1294




                                                           WHITE SCC (MR) 0095
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 96 of 260 Page ID #1295




                                                           WHITE SCC (MR) 0096
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 97 of 260 Page ID #1296




                                                           WHITE SCC (MR) 0097
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 98 of 260 Page ID #1297




                                                           WHITE SCC (MR) 0098
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 99 of 260 Page ID #1298




                                                           WHITE SCC (MR) 0099
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 100 of 260 Page ID #1299




                                                           WHITE SCC (MR) 0100
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 101 of 260 Page ID #1300




                                                           WHITE SCC (MR) 0101
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 102 of 260 Page ID #1301




                                                           WHITE SCC (MR) 0102
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 103 of 260 Page ID #1302




                                                           WHITE SCC (MR) 0103
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 104 of 260 Page ID #1303




                                                           WHITE SCC (MR) 0104
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 105 of 260 Page ID #1304




                                                           WHITE SCC (MR) 0105
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 106 of 260 Page ID #1305




                                                           WHITE SCC (MR) 0106
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 107 of 260 Page ID #1306




                                                           WHITE SCC (MR) 0107
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 108 of 260 Page ID #1307




                                                           WHITE SCC (MR) 0108
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 109 of 260 Page ID #1308




                                                           WHITE SCC (MR) 0109
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 110 of 260 Page ID #1309




                                                           WHITE SCC (MR) 0110
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 111 of 260 Page ID #1310




                                                           WHITE SCC (MR) 0111
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 112 of 260 Page ID #1311




                                                           WHITE SCC (MR) 0112
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 113 of 260 Page ID #1312




                                                           WHITE SCC (MR) 0113
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 114 of 260 Page ID #1313




                                                           WHITE SCC (MR) 0114
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 115 of 260 Page ID #1314




                                                           WHITE SCC (MR) 0115
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 116 of 260 Page ID #1315




                                                           WHITE SCC (MR) 0116
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 117 of 260 Page ID #1316




                                                           WHITE SCC (MR) 0117
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 118 of 260 Page ID #1317




                                                           WHITE SCC (MR) 0118
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 119 of 260 Page ID #1318




                                                           WHITE SCC (MR) 0119
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 120 of 260 Page ID #1319




                                                           WHITE SCC (MR) 0120
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 121 of 260 Page ID #1320




                                                           WHITE SCC (MR) 0121
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 122 of 260 Page ID #1321




                                                           WHITE SCC (MR) 0122
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 123 of 260 Page ID #1322




                                                           WHITE SCC (MR) 0123
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 124 of 260 Page ID #1323




                                                           WHITE SCC (MR) 0124
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 125 of 260 Page ID #1324




                                                           WHITE SCC (MR) 0125
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 126 of 260 Page ID #1325




                                                           WHITE SCC (MR) 0126
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 127 of 260 Page ID #1326




                                                           WHITE SCC (MR) 0127
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 128 of 260 Page ID #1327




                                                           WHITE SCC (MR) 0128
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 129 of 260 Page ID #1328




                                                           WHITE SCC (MR) 0129
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 130 of 260 Page ID #1329




                                                           WHITE SCC (MR) 0130
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 131 of 260 Page ID #1330




                                                           WHITE SCC (MR) 0131
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 132 of 260 Page ID #1331




                                                           WHITE SCC (MR) 0132
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 133 of 260 Page ID #1332




                                                           WHITE SCC (MR) 0133
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 134 of 260 Page ID #1333




                                                           WHITE SCC (MR) 0134
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 135 of 260 Page ID #1334




                                                           WHITE SCC (MR) 0135
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 136 of 260 Page ID #1335




                                                           WHITE SCC (MR) 0136
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 137 of 260 Page ID #1336




                                                           WHITE SCC (MR) 0137
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 138 of 260 Page ID #1337




                                                           WHITE SCC (MR) 0138
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 139 of 260 Page ID #1338




                                                           WHITE SCC (MR) 0139
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 140 of 260 Page ID #1339




                                                           WHITE SCC (MR) 0140
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 141 of 260 Page ID #1340




                                                           WHITE SCC (MR) 0141
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 142 of 260 Page ID #1341




                                                           WHITE SCC (MR) 0142
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 143 of 260 Page ID #1342




                                                           WHITE SCC (MR) 0143
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 144 of 260 Page ID #1343




                                                           WHITE SCC (MR) 0144
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 145 of 260 Page ID #1344




                                                           WHITE SCC (MR) 0145
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 146 of 260 Page ID #1345




                                                           WHITE SCC (MR) 0146
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 147 of 260 Page ID #1346




                                                           WHITE SCC (MR) 0147
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 148 of 260 Page ID #1347




                                                           WHITE SCC (MR) 0148
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 149 of 260 Page ID #1348




                                                           WHITE SCC (MR) 0149
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 150 of 260 Page ID #1349




                                                           WHITE SCC (MR) 0150
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 151 of 260 Page ID #1350




                                                           WHITE SCC (MR) 0151
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 152 of 260 Page ID #1351




                                                           WHITE SCC (MR) 0152
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 153 of 260 Page ID #1352




                                                           WHITE SCC (MR) 0153
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 154 of 260 Page ID #1353




                                                           WHITE SCC (MR) 0154
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 155 of 260 Page ID #1354




                                                           WHITE SCC (MR) 0155
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 156 of 260 Page ID #1355




                                                           WHITE SCC (MR) 0156
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 157 of 260 Page ID #1356




                                                           WHITE SCC (MR) 0157
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 158 of 260 Page ID #1357




                                                           WHITE SCC (MR) 0158
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 159 of 260 Page ID #1358




                                                           WHITE SCC (MR) 0159
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 160 of 260 Page ID #1359




                                                           WHITE SCC (MR) 0160
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 161 of 260 Page ID #1360




                                                           WHITE SCC (MR) 0161
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 162 of 260 Page ID #1361




                                                           WHITE SCC (MR) 0162
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 163 of 260 Page ID #1362




                                                           WHITE SCC (MR) 0163
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 164 of 260 Page ID #1363




                                                           WHITE SCC (MR) 0164
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 165 of 260 Page ID #1364




                                                           WHITE SCC (MR) 0165
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 166 of 260 Page ID #1365




                                                           WHITE SCC (MR) 0166
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 167 of 260 Page ID #1366




                                                           WHITE SCC (MR) 0167
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 168 of 260 Page ID #1367




                                                           WHITE SCC (MR) 0168
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 169 of 260 Page ID #1368




                                                           WHITE SCC (MR) 0169
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 170 of 260 Page ID #1369




                                                           WHITE SCC (MR) 0170
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 171 of 260 Page ID #1370




                                                           WHITE SCC (MR) 0171
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 172 of 260 Page ID #1371




                                                           WHITE SCC (MR) 0172
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 173 of 260 Page ID #1372




                                                           WHITE SCC (MR) 0173
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 174 of 260 Page ID #1373




                                                           WHITE SCC (MR) 0174
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 175 of 260 Page ID #1374




                                                           WHITE SCC (MR) 0175
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 176 of 260 Page ID #1375




                                                           WHITE SCC (MR) 0176
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 177 of 260 Page ID #1376




                                                           WHITE SCC (MR) 0177
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 178 of 260 Page ID #1377




                                                           WHITE SCC (MR) 0178
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 179 of 260 Page ID #1378




                                                           WHITE SCC (MR) 0179
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 180 of 260 Page ID #1379




                                                           WHITE SCC (MR) 0180
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 181 of 260 Page ID #1380




                                                           WHITE SCC (MR) 0181
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 182 of 260 Page ID #1381




                                                           WHITE SCC (MR) 0182
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 183 of 260 Page ID #1382




                                                           WHITE SCC (MR) 0183
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 184 of 260 Page ID #1383




                                                           WHITE SCC (MR) 0184
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 185 of 260 Page ID #1384




                                                           WHITE SCC (MR) 0185
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 186 of 260 Page ID #1385




                                                           WHITE SCC (MR) 0186
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 187 of 260 Page ID #1386




                                                           WHITE SCC (MR) 0187
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 188 of 260 Page ID #1387




                                                           WHITE SCC (MR) 0188
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 189 of 260 Page ID #1388




                                                           WHITE SCC (MR) 0189
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 190 of 260 Page ID #1389




                                                           WHITE SCC (MR) 0190
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 191 of 260 Page ID #1390




                                                           WHITE SCC (MR) 0191
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 192 of 260 Page ID #1391




                                                           WHITE SCC (MR) 0192
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 193 of 260 Page ID #1392




                                                           WHITE SCC (MR) 0193
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 194 of 260 Page ID #1393




                                                           WHITE SCC (MR) 0194
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 195 of 260 Page ID #1394




                                                           WHITE SCC (MR) 0195
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 196 of 260 Page ID #1395




                                                           WHITE SCC (MR) 0196
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 197 of 260 Page ID #1396




                                                           WHITE SCC (MR) 0197
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 198 of 260 Page ID #1397




                                                           WHITE SCC (MR) 0198
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 199 of 260 Page ID #1398




                                                           WHITE SCC (MR) 0199
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 200 of 260 Page ID #1399




                                                           WHITE SCC (MR) 0200
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 201 of 260 Page ID #1400




                                                           WHITE SCC (MR) 0201
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 202 of 260 Page ID #1401




                                                           WHITE SCC (MR) 0202
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 203 of 260 Page ID #1402




                                                           WHITE SCC (MR) 0203
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 204 of 260 Page ID #1403




                                                           WHITE SCC (MR) 0204
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 205 of 260 Page ID #1404




                                                           WHITE SCC (MR) 0205
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 206 of 260 Page ID #1405




                                                           WHITE SCC (MR) 0206
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 207 of 260 Page ID #1406




                                                           WHITE SCC (MR) 0207
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 208 of 260 Page ID #1407




                                                           WHITE SCC (MR) 0208
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 209 of 260 Page ID #1408




                                                           WHITE SCC (MR) 0209
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 210 of 260 Page ID #1409




                                                           WHITE SCC (MR) 0210
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 211 of 260 Page ID #1410




                                                           WHITE SCC (MR) 0211
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 212 of 260 Page ID #1411




                                                           WHITE SCC (MR) 0212
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 213 of 260 Page ID #1412




                                                           WHITE SCC (MR) 0213
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 214 of 260 Page ID #1413




                                                           WHITE SCC (MR) 0214
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 215 of 260 Page ID #1414




                                                           WHITE SCC (MR) 0215
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 216 of 260 Page ID #1415




                                                           WHITE SCC (MR) 0216
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 217 of 260 Page ID #1416




                                                           WHITE SCC (MR) 0217
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 218 of 260 Page ID #1417




                                                           WHITE SCC (MR) 0218
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 219 of 260 Page ID #1418




                                                           WHITE SCC (MR) 0219
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 220 of 260 Page ID #1419




                                                           WHITE SCC (MR) 0220
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 221 of 260 Page ID #1420




                                                           WHITE SCC (MR) 0221
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 222 of 260 Page ID #1421




                                                           WHITE SCC (MR) 0222
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 223 of 260 Page ID #1422




                                                           WHITE SCC (MR) 0223
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 224 of 260 Page ID #1423




                                                           WHITE SCC (MR) 0224
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 225 of 260 Page ID #1424




                                                           WHITE SCC (MR) 0225
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 226 of 260 Page ID #1425




                                                           WHITE SCC (MR) 0226
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 227 of 260 Page ID #1426




                                                           WHITE SCC (MR) 0227
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 228 of 260 Page ID #1427




                                                           WHITE SCC (MR) 0228
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 229 of 260 Page ID #1428




                                                           WHITE SCC (MR) 0229
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 230 of 260 Page ID #1429




                                                           WHITE SCC (MR) 0230
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 231 of 260 Page ID #1430




                                                           WHITE SCC (MR) 0231
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 232 of 260 Page ID #1431




                                                           WHITE SCC (MR) 0232
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 233 of 260 Page ID #1432




                                                           WHITE SCC (MR) 0233
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 234 of 260 Page ID #1433




                                                           WHITE SCC (MR) 0234
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 235 of 260 Page ID #1434




                                                           WHITE SCC (MR) 0235
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 236 of 260 Page ID #1435




                                                           WHITE SCC (MR) 0236
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 237 of 260 Page ID #1436




                                                           WHITE SCC (MR) 0237
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 238 of 260 Page ID #1437




                                                           WHITE SCC (MR) 0238
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 239 of 260 Page ID #1438




                                                           WHITE SCC (MR) 0239
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 240 of 260 Page ID #1439




                                                           WHITE SCC (MR) 0240
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 241 of 260 Page ID #1440




                                                           WHITE SCC (MR) 0241
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 242 of 260 Page ID #1441




                                                           WHITE SCC (MR) 0242
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 243 of 260 Page ID #1442




                                                           WHITE SCC (MR) 0243
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 244 of 260 Page ID #1443




                                                           WHITE SCC (MR) 0244
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 245 of 260 Page ID #1444




                                                           WHITE SCC (MR) 0245
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 246 of 260 Page ID #1445




                                                           WHITE SCC (MR) 0246
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 247 of 260 Page ID #1446




                                                           WHITE SCC (MR) 0247
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 248 of 260 Page ID #1447




                                                           WHITE SCC (MR) 0248
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 249 of 260 Page ID #1448




                                                           WHITE SCC (MR) 0249
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 250 of 260 Page ID #1449




                                                           WHITE SCC (MR) 0250
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 251 of 260 Page ID #1450




                                                           WHITE SCC (MR) 0251
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 252 of 260 Page ID #1451




                                                           WHITE SCC (MR) 0252
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 253 of 260 Page ID #1452




                                                           WHITE SCC (MR) 0253
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 254 of 260 Page ID #1453




                                                           WHITE SCC (MR) 0254
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 255 of 260 Page ID #1454




                                                           WHITE SCC (MR) 0255
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 256 of 260 Page ID #1455




                                                           WHITE SCC (MR) 0256
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 257 of 260 Page ID #1456




                                                           WHITE SCC (MR) 0257
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 258 of 260 Page ID #1457




                                                           WHITE SCC (MR) 0258
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 259 of 260 Page ID #1458




                                                           WHITE SCC (MR) 0259
Case 3:18-cv-00165-MAB Document 114-2 Filed 12/14/20 Page 260 of 260 Page ID #1459




                                                           WHITE SCC (MR) 0260
